                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                       ANDERSON/GREENWOOD DIVISION

UNITED STATES OF AMERICA                )    CRIMINAL NO.: 8:19-cr-00181-DCC (1)
                                        )
             v.                         )
                                        )
DETRIC LEE MCGOWAN                      )
 a/k/a “Fat”                            )


                        PRELIMINARY ORDER OF FORFEITURE

      This matter is before the court on the motion of the United States for a Preliminary

Order of Forfeiture as to Defendant Detrick Lee McGowan, (“McGowan”, “Defendant”),

based upon the following:

      1.    On May 14, 2019, a multi-count Superseding Indictment (“Indictment”) was

filed charging McGowan with:

             Count 1:             Conspiracy to possess with intent to distribute
                                  controlled substances, in violation of 21 U.S.C.
                                  § § 841(a)(1), (b)(1)(A), (b)(1)(E) and 846;

             Count 2:            Conspiracy to import controlled substances, in violation
                                 of 21 U.S.C. §§ 952(a), 960(b)(1)(A), (b)(1)(B),
                                 (b)(1)(F) and 963;

             Count 4:             Conspiracy to commit bulk cash smuggling, in violation
                                  of 18 U.S.C. § 371;

             Count 5:            Bulk cash smuggling, in violation of 31 U.S.C.
                                 § 5332(a)(1);

             Counts 9 & 11:       Interstate travel and transportation in aid of drug
                                  trafficking business, in violation of 18 U.S.C.
                                  §§ 1952(a)(3);

             Counts 10 & 25:      Possession with intent to distribute and distribution of
                                  controlled substances, in violation of 21 U.S.C.
                                  § § 841(a)(1), (b)(1)(A), (b)(1)(C) and (b)(1)(E);
                                            -1-
              Count 12:             Possession with intent to distribute and distribution of
                                    heroin, in violation of 21 U.S.C. § § 841(a)(1) and
                                    (b)(1)(A);

              Counts 13 & 24:       Maintaining a stash house, in violation of 21 U.S.C.
                                    § 856(a)(1);

              Count 14:             Conspiracy to structure transactions to evade reporting
                                    requirements, in violation of 31 U.S.C. § 5324(a) and
                                    5313(a), and 18 U.S.C. § 371;

              Counts 19, 21, 22     Unlawful use of a communication device, in violation
              23:                   of 21 U.S.C. § 843(b);

              Count 26:             Felon in possession of a firearm and ammunition, in
                                    violation of 18 U.S.C. § § 922(g)(1), 924(a)(2) and
                                    924(e);

              Count 29:             Conspiracy to commit money laundering, in violation of
                                    18 U.S.C. § 1956(h);

              Counts 30 & 31:       Money laundering-promotion, in violation of 18 U.S.C.
                                    § 1956(a)(1)(A)(i);

              Counts 32-41:         Money laundering-concealment, in violation of 18
                                    U.S.C. § 1956(a)(1)(B)(i);

              Counts 42-46:         Money laundering-illegal monetary transactions, in
                                    violation of 18 U.S.C. § 1957.


       2.     Pursuant to Fed. R. Crim. P. 32.2(a), the Indictment contained a forfeiture

allegation providing that upon McGowan’s conviction, certain properties enumerated

therein, or equivalent substitute assets, would be subject to forfeiture to the United States.

As specified therein, such assets include, but are not limited to the following:



       .



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             A.     PROPERTY:

                    (a)    $587,639.00 in United States currency1
                           Asset ID: 19-DEA-649763

                    (b)    $2,766.00 in United States currency2
                           Asset ID: 19-DEA-649771

                    (c)    $25,142.60 in United States currency seized from First
                           Citizens Bank account: xxxxxx-48653
                           Asset ID: 19-DEA-651394

                    (d)    $14,043.46 in United States currency seized from First
                           Citizens Bank account: xxxxxx-44274
                           Asset ID: 19-DEA-651415

                    (e)    $7,085.78 in United States currency seized from First
                           Citizens Bank account:xxxxxx-04435
                           Asset ID: 19-DEA-651415

             B.     CASH PROCEEDS/MONEY JUDGMENT:6

                    A sum of money equal to all proceeds the defendants
                    obtained, directly or indirectly, from the Title 21 offenses
                    and/or a sum of money equal to all property involved in the
                    Title 31 offenses as charged in this Superseding Indictment,
                    and all proceeds traceable thereto, for which the defendants
                    are liable.




      1
          The $587,639.00 in United States currency was forfeited by the seizing agency.
      2
          The $2,766.00 in United States currency was forfeited by the seizing agency.
        3
          The $25,142.60 seized from First Citizens Bank account: xxxxx-4865 was
forfeited by the seizing agency.
        4
          The $14,043.46 seized from First Citizens Bank account: xxxxx-4427 was
forfeited by the seizing agency.
        5
          The $7,085.78 seized from First Citizens Bank account: xxxxxx-0443 was
forfeited by the seizing agency.
        6
          In his plea agreement, signed July 29, 2019, the defendant agreed to a
judgment of $3,264,500.00.
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             C.     REAL PROPERTY:7

                    320 Scenic Lake Court
                    Piedmont, South Carolina 29341
                    Greenville County, South Carolina
                    In the names of Detric Lee McGowan and Lauren Brook Poore
                    TMS: 0583-10-01-011.00

             D.     VEHICLES:

                    (a)    2016 Nissan Maxima
                           VIN: 1N4AA6AP4GC433402
                           Asset ID: 19-DEA-649914

                    (b)    2019 EZ-Go Clemson Tigers golf cart
                           VIN: 3379020
                           Asset ID: 19-DEA-649854

             E.     FIREARMS/AMMUNITION:8

                    (a)    Jimenez Arms. J.A. 25 pistol
                           CAL: .25 Serial No.: 188060
                           Asset ID: 19-ATF-016687

                    (b)    5 rounds PPU ammunition
                           CAL: .25
                           Asset ID: 19-ATF-016689

             F.     JEWELRY:

                    (a)    One (1) 18 karat yellow gold and stainless steel Rolex watch
                           Asset ID: 19-DEA-649852

                    (b)    One stainless steel Rolex watch
                           Asset ID: 19-DEA-649852




      7
         This property is in foreclosure proceedings. The government will be forfeiting
the surplus funds from the foreclosure sale of this property.
       8
         The firearm and ammunition were forfeited by the seizing agency.
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       3.     On July 5, 2019, a Bill of Particulars was filed with the court regarding

property alleged in the Superseding Indictment filed July 14, 2019, as also being subject

to forfeiture to the United States. Such property includes:

              A.     VEHICLE:

                     2015 Toyota Sienna
                     VIN: 5TDKK3DC8FS591368
                     Asset ID: 19-DEA-650111

       4.     On July 29, 2019, an Information was filed charging McGowan with:

              Count 1:      Attempt to kill a witness(s) in order to prevent the witness(s)
                            attendance and testimony in a criminal trial related to the
                            Superseding Indictment of 8:19-181, in violation of 18 U.S.C.
                            § § 1512(a) and (j);

              Count 2:      Attempt to kill the prosecuting Assistant United States
                            Attorney in retaliation for her attendance in the criminal case
                            8:19-181, related to the Superseding Indictment, in violation
                            of 18 U.S.C. § § 1513(a) and (c).

       5.     On July 29, 2019, McGowan signed a plea agreement, agreeing to

forfeiture.

       6.     On August 1, 2019, McGowan pled guilty to Counts 1, 25 and 29 of the

Superseding Indictment and Counts 1 and 2 of the Information.

       7.     Based upon Defendant’s conviction, the court has determined that the

government has established the requisite nexus between the amount of proceeds and

the property involved in Defnedant’s offenses and the violations for which McGowan has

been convicted; therefore, the United States is entitled to a preliminary order of forfeiture,

subject to the provisions of 21 U.S.C. § 853 governing third party rights. The court has

determined that the property described above is subject to forfeiture, pursuant to 18


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U.S.C. §§ 924(d), 981 and 982; 21 U.S.C. § § 853 and 881; 31 U.S.C. § § 5317(c)(1),

5332(b)(2), and 28 U.S.C. § 2461(c). Therefore, it is ORDERED that all property, real or

personal, which constitutes or is derived from proceeds traceable to Defendant’s

violations of Title 18, United States Code, Sections 1512, 1513 and 1956 and Title 21,

United States Code, Section 841 are forfeited to the United States and that all property

involved in Defendant’s violations of Title 18, United States Code, Sections 1512, 1513

and 1956 and Title 21, United States Code, Section 841 are forfeited to the United States.

      8.     The Court further finds that one or more of the conditions set forth in Title

21, United States Code, Section 853(p), exists.

      9.     It is, therefore, ORDERED that the United States is entitled to forfeit

substitute assets equal to the value of the proceeds obtained by Defendant McGowan as

a result of his violations of Title 18, United States Code, Sections 1512, 1513 and 1956

and Title 21, United States Code 841, and that such substitute assets shall not exceed

the value of the proceeds Defendant McGowan obtained of $3,264,500.00.

             Accordingly, it is herby ORDERED,

     1.      The below-described property, and all right, title, and interest of the

Defendant, Detric Lee McGowan, in and to such property, is hereby forfeited to the United

States of America, for disposition in accordance with law, subject to the rights of third

parties in such property under 21 U.S.C. § 853(n):

             A.     REAL PROPERTY:


             All surplus proceeds from the sale from the foreclosure sale of:

                    320 Scenic Lake Court
                    Piedmont, South Carolina 29341
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                     Greenville County, South Carolina
                     In the names of Detric Lee McGowan and Lauren Brook Poore
                     TMS: 0583-10-01-011.00

              B.     VEHICLES:

                     (a)    2016 Nissan Maxima
                            VIN: 1N4AA6AP4GC433402
                            Asset ID: 19-DEA-649914

                     (b)    2019 EZ-Go Clemson Tigers golf cart
                            VIN: 3379020
                            Asset ID: 19-DEA-649854

                     (c)    2015 Toyota Sienna
                            VIN: 5TDKK3DC8FS591368
                            Asset ID: 19-DEA-650111

              C.     JEWELRY:

                     (a)    One (1) 18 karat yellow gold and stainless steel Rolex watch
                            Asset ID: 19-DEA-649852

                     (b)    One stainless steel Rolex watch
                            Asset ID: 19-DEA-649852


       2.    FORFEITURE IS ENTERED aginst Detric Lee McGowan and in favor of the

United States in the amount of $3,264,500.00, along with appropriate costs and interest

thereon at the rate provided for in 28 U.S.C. § 1961 as of the date of entry of judgment

until paid in full. The United States may at any time move pursuant to Rule 32.2(e) to

amend this Order of Forfeiture to substitute property to satisfy the judgment.

       3.    The United States may sell or otherwise dispose of any substitute assets in

accordance with law as required to satisfy the above imposed judgment.

       4.    Upon entry of this Order, the Government is further authorized to conduct

discovery to identify, locate, or other substitute assets, in accordance with Fed. R. Crim.

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P. 32.2(b)(3); and to commence proceedings that comply with statutes governing third

party rights, if applicable.

       5.      The government is not required to publish notice regarding the judgment

against Defendant; however, the Order shall be recorded in the records of the County

Clerk’s Office in the County of the debtor’s residence, place of business, and any and all

other counties in which the debtor has either real or personal property, as a lien thereon.

       6.      The United States shall publish notice of this Order and its intent to dispose

of the personal property in such manner as the Attorney General may direct. The United

States may also, to the extent practicable, provide written notice to any person known to

have an alleged interest in the said property.

       7.      Upon entry of this Order, the United States is authorized to seize the above-

described property as directed by the United States Attorney’s Office and to commence

proceedings that comply with statutes governing third party rights.

       8.      Any person, other than the named Defendant, asserting a legal interest in

the subject property may, within thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the court for a hearing without a jury to adjudicate the

validity of his alleged interest in the subject property and for an amendment of the order

of forfeiture, pursuant to 21 U.S.C. § 853(n)(6) and Fed. R. Crim. P. 32.2(c).

       9.      Any petition filed by a third party asserting an interest in the above-

described property shall be signed by the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right, title, or interest in the subject property,

the time and circumstances of the petitioner’s acquisition of the right, title or interest in

such property, and additional facts supporting the petitioner’s claim and the relief sought.

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       10.     After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A)

and before a hearing on the petition, discovery may be conducted in accordance with the

Federal Rules of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

       11.     The United States shall have clear title to the property following the court’s

determination of all third party interests, or, if no petitions are filed, following the expiration

of the period provided in 21 U.S.C. § 853(n)(2) for the filing of third party petitions.

       12.     The court shall retain jurisdiction to resolve disputes which may arise and

to enforce and amend this Order as necessary, pursuant to Fed. R. CRim. P. 32.2(e).

       13.     Upon entry of the criminal judgment, this Order becomes final as to

Defendant, and shall be made a part of the sentence and included in the criminal

judgment.

       14.     The Clerk, United States District Court, shall provide one (1) certified copy

of this Order to the Unted States Attorney’s Office.



       AND IT IS SO ORDERED.

                                             s/Donald C. Coggins, Jr.
                                             _____________________________
                                             DONALD C. COGGINS, JR.
                                             UNITED STATES DISTRICT JUDGE


February 11, 2020
Spartanburg, South Carolina




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